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       March 17, 2025                                                   Thomas E. Birsic
                                                                        thomas.birsic@klgates.com
       By CM/ECF
                                                                        T +1 412 355 6538
                                                                        F +1 412 355 6501
        Hon. Marilyn J. Horan
        Joseph J. Weis, Jr. U.S. Courthouse
        700 Grant Street, Room 8170
        Pittsburgh, PA 15219

       Re:      United States Steel Corp., et al. v. Cleveland-Cliffs Inc., et al., No. 2:25-cv-15
       Dear Judge Horan:
       We write on behalf of United States Steel Corporation and jointly with counsel for Nippon Steel
       Corporation and Nippon Steel North America, Inc. to advise the Court of a development in the
       D.C. Circuit litigation challenging the CFIUS review process in connection with the merger
       between U. S. Steel and Nippon Steel. Late Friday, at the request of the Department of Justice,
       U. S. Steel and Nippon Steel agreed to extend certain deadlines in the parties’ challenge to former
       President Biden’s block of the transaction. A copy of the submission is attached. Plaintiffs will
       promptly advise the Court of any material developments.


       Very truly yours,




       Thomas E. Birsic, Esq.
                CC:           All Counsel of Record (via CM/ECF)
                Enclosure:    Consent Motion for Extension of Time to File Classified Administrative
                              Record and Response and Reply Briefs (Doc. No. 2105871), United
                              States Steel Corp., et al. v. Comm. on Foreign Investment in the U.S., et
                              al., No. 25-1004; In the United States Court of Appeals for the District of
                              Columbia Circuit




K&L GATES LLP
K&L GATES CENTER 210 SIXTH AVENUE PITTSBURGH PA 15222-2613
T +1 412 355 6500 F +1 412 355 6501 klgates.com
